 

Case 2:20-cr-00015-Z-BR Document 827 Filed 09/29/20 Pagel1 Rokr eee OURT

 

 

 

 

 

 

 

ICT OF TEXAS
IN THE UNITED STATES DISTRICT COURT FILED
FOR THE NORTHERN DISTRICT OF TEXAY |
AMARILLO DIVISION | ScP 29 2D
UNITED STATES OF AMERICA § CLERK, U.S. DISTRICT COURYS
§ By__=°
Plaintiff, § Sputy
§
v. § 2:20-CR-15-Z-BR-(21)
§
ROXANNE CASAS §
§
Defendant. §

ORDER ADOPTING REPORT AND RECOMMENDATION
CONCERNING PLEA OF GUILTY

On September 14, 2020, the United States Magistrate Judge issued a Report and
Recommendation Concerning Plea of Guilty (“Report and Recommendation”) in the above referenced
cause. Defendant Roxanne Casas filed no objections to the Report and Recommendation within the
fourteen-day period set forth in 28 U.S.C. § 636(b)(1). The Court independently examined all relevant
matters of record in the above referenced cause—including the elements of the offense, Factual
Resume, Plea Agreement, and Plea Agreement Supplement—and thereby determined that the Report
and Recommendation is correct. Therefore, the Report and Recommendation is hereby ADOPTED by
the United States District Court. Accordingly, the Court hereby FINDS that the guilty plea of
Defendant Roxanne Casas was knowingly and voluntarily entered; ACCEPTS the guilty plea of
Defendant Roxanne Casas; and ADJUDGES Defendant Roxanne Casas guilty of Count Twenty-
Seven in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C). Sentence will be imposed in

accordance with the Court’s sentencing scheduling order.

SO ORDERED, September 27, 2020.

 

MATVHEW J. KACSMARYK

UNIZED STATES DISTRICT JUDGE

 
